
 1  The People of the State of Colorado, Plaintiff-Appellee,  v.  Amilcar Leonel Esquivel-Hernandez, Defendant-Appellant. No. 19CA0959Court of Appeals of Colorado, First DivisionNovember 4, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
                Adams
      County District Court No. 18CR1077 Honorable Roberto
      Ramírez, Judge
    
    
               
      OPINION
    
    
                DUNN,
      JUDGE
    
    
               JUDGMENT
      AFFIRMED
    
    
                Dailey
      and Kuhn, JJ., concur
    
    